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                               UNITED STATES DISTRICT COUR DOCUMENT
                              SOUTHERN DISTRICT OF NEW YO KLECTRONJCALLY FILED
                                                                                DOC#:
CASEY CUNNINGHAM,                                                                          ----=-----
                                                                                DATE FILED: /ol- 9'-/7
                                  Plaintiff.
V.                                                               Civil Action No. 16-cv-6525-PKC

CORNELL UNIVERSITY, ET AL.,                                      CIVIL CASE MANAGEMENT PLAN
                                                                    AND SCHEDULING ORDER
                                  Defendants.

    This Civil Case Management Plan (the "Plan") is submitted by the parties in accordance with
Rule 26(f)(3), Fed. R. Civ. P.

     I.    All parties do not consent to conducting all further proceedings before a Magistrate
           Judge, including motions and trial. 28 U.S.C. § 636(c). The parties are free to
           withhold consent without adverse substantive consequences.

     2.    Plaintiff believes this case should be tried to a jury. Defendants do not believe that
           Plaintiff is entitled to a jury in an BRISA action alleging breach of fiduciary duty. 'T f>J.)

     3.    Amended pleadings may not be filed and additional parties may not be joined except
           with leave of the Court or as permitted by the Federal Rules of Civil Procedure. With
           respect to any motion to join additional parties, Defendants propose that any such
           motion shall be filed within 30 days from the date of this Order, and Plaintiffs propose
           that any such motion shall be filed with 30 days of Defendants' production of all
           minutes and materials of the fiduciary committee.

     4.    Initial disclosures, pursuant to Rules 26(a)(l), Fed. R. Civ. P., shall be completed not
           later than 21 days following the Court's entry of this Civil Case Management Plan and
           Scheduling Order.
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     5.    Defendants propose that all fact discovery shall be completed no later than A~.
           2018. Pimntiffs pt0ffoSC Juit all f·w 1 rlbem' f)' shall ee completed no Jati::1 11ia11 Oe,i!!li¢e::;,--=
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     6.    The parties are to conduct discovery in accordance with the Federal Rules of Civil
           Procedure and the Local Rules of the Southern District of New York. Interim deadlines
           set forth in this paragraph 6 may be extended by the written consent of all parties
           without application to the Court, provided that all fact discovery is completed by the
           date set forth in paragraph 5 above:

           a.      Initial requests for production of documents to be served by: January 26, 2018




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      b.      Defendants propose that interrogatories are to be served by March 2,       ~
              Plaintiffs propose that interrogatories are to be served by: September 5,              J6 ~.J
              2018.                                                                              1~r
      c.      Defendants propose that depositions are to be completed by April 3. 2018.               ~U
              Plaintiffs propose that depositions are to be completed by October 5, 2018.              ~-

      d.      Defendants propose that Requests to Admit are to be served no later than March  ·        7
              2, 2018. Plaintiffs propose that Requests to Admit are to be served no later th~
              September 5, 2018.

7.     a. Defendants propose that all expert discovery shall be completed no later than May
       11, 2018. Plaintiffs propose that all expert discovery shall be completed no later than
       N~~er-+9,_2018. -
                (f)~-r
       b. No later than 30 days prior to the date in paragraph 5, i.e. the completion of all fact
       discovery, the parties shall meet and confer on a schedule for expert disclosures,
       including reports, production of underlying documents and depositions, provided that
       (i) expert report(s) of the party with the burden of proof shall be due before those of the
       opposing party's expert(s); and (ii) expert discovery shall be completed by the date set
       forth in paragraph 7(a).

8.    All motions and applications shall be governed by the Court's Individual Practices,
      including pre-motion conference requirements, except that motions in limine may be
      made without pre-motion conference on the schedule set forth in paragraph 11.
      Pursuant to the authority of Rule 16(c)(2), Fed. R. Civ. P., any motion for summary
      judgment will be deemed untimely unless a request for a pre-motion conference
      relating thereto is made in writing within fourteen (14) days after the date in paragraph
      7(a), i.e., the close of expert discovery.

9.    All counsel must meet face-to-face for at least one hour to discuss settlement within 14
      days following the close of fact discovery.

10. a. Counsel for the parties have discussed an informal exchange of information in aid
    of an early settlement discussion. With their initial disclosures, Defendants will
    produce the Plans' written instruments under 29 U.S.C. §l 102(a), summary plan
    descriptions, annual reports, and fiduciary committee meeting minutes, with
    attachments, pertaining to the six-year period preceding the filing of the initial
    Complaint, and Plaintiffs will produce disclosures and other documents pertaining to
    their participation in the Plans.

      b. Counsel for the parties will meet and confer at an appropriate future date to discuss
      whether involving a mediator would be productive.

      c. Counsel for the parties recommend that the alternate dispute resolution mechanism
      designated in paragraph b be employed, if at all, after the close of expert discovery.



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        d. The use of any alternative dispute resolution mechanism does not stay or modify
        any date in this Order.

    11. The Final Pretrial Submission Date is 30 days following the last ruling on ~my motion
        for summary judgment, or 30 days following the deadline for a pre-motion letter if no
        motion for summary judgment is filed.

        By the Final Pretrial Submission Date, the parties shall submit a Joint Pretrial Order
        prepared in accordance with the undersigned's Individual Practices and Rule 26(a)(3),
        Fed. R. Civ. P. Any motions in limine shall be filed after the close of discovery and
        before the Final Pretrial Submission Date, and the pre-motion conference requirement
        is waived for any such motion. If this action is to be tried before a jury, proposed voir
        dire, jury instructions and verdict form shall also be filed by the Final Pretrial
        Submission Date. Counsel are required to meet and confer on a joint submission of
        proposed jury instructions and verdict form, noting any points of disagreement in the
        joint submission. Jury instructions may not be submitted after the Final Pretrial
        Submission Date, unless they meet the standard of Rule 51 (a)(2)(A), Fed. R. Civ. P. If
        this action is to be tried to the Court, proposed findings of fact and conclusions of law
        should be submitted by the Final Pretrial Submission Date.

    12. Counsel for the parties have conferred and their present best estimate of the length of
        the trial is three weeks.




TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Court and, except as modified, is adopted as the Scheduling


    14. [Other]




    15. The next Case Management Conference is scheduled for       Ser+· 7, d.0/8 at Jo:3o ttm.
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     This ORDER may not be modified or the dates herein extended, except by further Order of
this Court for good cause shown. Any application to modify or extend the dates herein (except as
noted in paragraph 6) shall be made in a written application in accordance with paragraph 1(C)
of the Court's Individual Practices and shall be made no less than five (5) days prior to the
expiration of the date sought to be extended.       L.~


                                                         P. Kevin Castel
                                                     United States District Judge

    Dated:   New York, New York

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